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                                                                     February 5, 2023

       Via ECF

       The Honorable Diane Gujarati,
           United States District Court Judge,
               U.S. District Court for the Eastern District of New York,
                   225 Cadman Plaza East,
                        Brooklyn, New York 11201.

                      Re:     Donaldson, et al. v. HSBC Holdings PLC, et al., No. 1:18-cv-
                              07442 (DG) (MMH)

       Dear Judge Gujarati:

                       The Stipulating Defendants1 and Plaintiffs (together, the “Parties”) jointly
       write pursuant to the Court’s order dated December 11, 2019, which approved the Parties’
       stipulation to stay proceedings in this action until 30 days after the decision of the appeal
       filed in Freeman, et al. v. HSBC Holdings plc, et al., 14 Civ. 06601 (PKC-CLP)
       (“Freeman I”).

                        On January 5, 2023, the U.S. Court of Appeals for the Second Circuit issued
       an opinion affirming the dismissal of the complaint in Freeman I. On January 19, 2023,
       the plaintiffs in Freeman I filed a petition seeking en banc rehearing of their appeal. That
       petition remains pending in the Second Circuit.

                       Pursuant to the earlier stipulation and order dated December 11, 2019 (ECF
       No. 19), the Parties have conferred and believe that the most efficient way to proceed in
       light of the post-decision proceedings in Freeman I would be to continue the existing stay
       of this action until all appellate proceedings in Freeman I have concluded.

                      Accordingly, the Parties respectfully request that the existing stay be
       continued until 30 days after the later of (i) issuance of the mandate from the Second Circuit
       in Freeman I; and/or (ii) resolution of any petition for a writ of certiorari to the Supreme
       Court in Freeman I, if such a petition is filed. Thereafter, the Parties will confer in good
       faith regarding the most fair and efficient way to proceed and will jointly advise the Court
       at that time.


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        The Stipulating Defendants are HSBC Holdings plc; HSBC Bank plc; HSBC Bank
       Middle East Limited; HSBC Bank USA, N.A.; Barclays Bank PLC; Standard Chartered
       Bank; Royal Bank of Scotland N.V. (f/k/a ABN AMRO Bank N.V.); Credit Suisse AG;
       Commerzbank AG; and Deutsche Bank AG.
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        The Honorable Diane Gujarati                                            -2-


                                                      Respectfully submitted,

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       cc:   All Counsel of Record (by ECF)
